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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORDIA
                                     MIAMI DIVISION

                                    CASE NO.: 1:24-cv-20573

  CLAIMANT LTD.,

                 Plaintiff,
  v.

  THE INDIVIDUALS, PARTNERSHIPS,
  AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON
  SCHEDULE "A",

                 Defendants.


       PLAINTIFF’S MOTION TO SEAL CERTAIN DOCUMENTS CONTAINING
              IDENTIFYING INFORMATION ABOUT THE PARTIES

        Plaintiff CLAIMANT LTD., by and through its undersigned counsel, hereby moves this

 Honorable Court for an order sealing certain documents containing identifying information about

 the Parties, and as grounds therefore states as follows:

        1.      This is a copyright infringement case.

        2.      There is good cause to seal the documents that are the subject of this Motion to

 Seal as set forth herein, and the requirements of Local Rule 5.4 have been met.

        3.      Pursuant to S.D. Fla. L.R. 5.4(b)(1), Plaintiff moves this Court for an order

 sealing the following documents:

                (1) Unredacted Complaint and supporting exhibits;

                (2) Schedule “A” to the Complaint;




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                (3) Plaintiff’s Ex Parte Application for Entry of Temporary Restraining Order,

                    Preliminary Injunction, and Order Restraining Transfer of Assets and

                    Incorporated Memorandum of Law;

                (4) Declaration of Daniel Lachman in support of Plaintiff’s Temporary

                    Restraining Order, and Order Restraining Transfer of Assets and Incorporated

                    Memorandum of Law, and supporting exhibit;

                (5) Declaration of Joel B. Rothman in support of Plaintiff’s Temporary

                    Restraining Order, and Order Restraining Transfer of Assets and Incorporated

                    Memorandum of Law and supporting exhibits.

        4.      Here, good cause exists to keep the documents requested under seal from the

 public. Plaintiff has learned that Defendants are engaged in the promotion, advertisement,

 distribution, offering for sale, and sale of goods bearing or using copies, derivatives, and/or

 infringements of Plaintiff’s intellectual property rights within this district, without authorization,

 through various Internet based e-commerce stores, and fully interactive, commercial Internet

 websites. Defendants’ infringing activities are causing irreparable injury to Plaintiff and causing

 an overall degradation of the reputation and goodwill associated with Plaintiff’s intellectual

 property.

        5.      Moreover, these Defendants e-commerce stores are mostly, if not all, foreign

 Chinese sellers. Counterfeiting and infringement lawsuits like this one are closely monitored by

 Chinese defendants on websites like www.sellerdefense.cn, social media (QQ, WeChat, etc.),

 and elsewhere on the internet. Undersigned counsel’s counterfeiting cases are among those that

 are flagged by counterfeiters who are warned to quickly drain their marketplace accounts, clean

 out their money transfer accounts, change their usernames, and hide their identities to avoid


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 being caught. See, e.g., “Sriplaw Law represents a personal illustrator, the case information is

 hidden, and the relevant sellers pay attention!” citing S.D. Fla. case No. 22-cv-60777

 (Dimitrouleas, J.) filed by undersigned counsel, accessible at https://sellerdefense.cn/starla-

 michelle-0505/.

          6.     The www.sellerdefense.cn website and others warn infringers specifically of

 product types, brands, law firms filing cases, and other information necessary for defendants,

 like those named in this case, to evade Plaintiff’s anti-pirating efforts and hide their ill-gotten

 gains.

          7.     Temporarily sealing these portions of the court file will prevent Defendants from

 prematurely receiving notice of Plaintiff’s investigation into the operation of their illegal

 businesses. In light of the illicit nature of the infringing business and the ability of infringers to

 practically eliminate their evidentiary trails by conducting their business entirely over the

 Internet, Plaintiff has good reason to believe that providing advance notification of Plaintiff’s

 claims would cause Defendants to hide or transfer their ill-gotten assets, inventory, and related

 records beyond the jurisdiction of this Court and thereby thwart the Court’s ability to grant

 meaningful relief. Accordingly, Plaintiff is seeking ex parte relief in this action.

          8.     As Defendants engage in illegal infringement activities, Plaintiff has no reason to

 believe Defendants will make their assets available for or will adhere to the authority of this

 Court any more than they have adhered to federal intellectual property laws.

          9.     Plaintiff requests that the documents that are the subject of this Motion remain

 under seal until the Court has the opportunity to rule on Plaintiff’s request for temporary ex parte

 relief and, if granted, the relief ordered therein has been effectuated. At that time, Plaintiff will




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 move to unseal and will make all pleadings and orders filed in this matter available to

 Defendants.

        WHEREFORE, Plaintiff respectfully prays that this Court enter an Order directing the

 clerk of court to seal the following documents on filing:

                (1) Unredacted Complaint and supporting exhibits;

                (2) Schedule “A” to the Complaint;

                (3) Plaintiffs’ Ex Parte Application for Entry of Temporary Restraining Order,

                    Preliminary Injunction, and Order Restraining Transfer of Assets and

                    Incorporated Memorandum of Law;

                (4) Declaration of Gabriel Seah in support of Plaintiff’s TRO and supporting

                    exhibit;

                (5) Declaration of Joel B. Rothman in support of Plaintiff’s TRO and supporting

                    exhibits.

 DATED: February 14, 2024                     Respectfully submitted,


                                              /s/Joel B. Rothman
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